                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, a political
 subdivision in the City of Fayetteville, State of
 Arkansas, et al.

                                                                               PLAINTIFFS


 v.                                  NO. 5:23-CV-05086-TLB

 CRAWFORD COUNTY, ARKANSAS, et. al


                                                                               DEFENDANTS


             PLAINTIFF FREEDOM TO READ FOUNDATION’S RESPONSES
      INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS
           PROPOUNDED BY PROSECUTING ATTORNEY DEFENDANTS


        Pursuant to Federal Rules of Civil Procedure 26 and 33 and the Local Rules of the United

States District Court for the Western District of Arkansas, Plaintiff Freedom to Read Foundation

(“FTRF”) by and through its undersigned counsel, hereby objects and responds to Plaintiff’s First

Set of Interrogatories and Requests for Production to FTRF as follows:

                                   GENERAL STATEMENT

        These responses are made solely for the purpose of this action, and are made without

waiving: (a) the right to object, on the grounds of competency, proprietary, admissibility, privilege,

relevance and/or materiality, or any other proper grounds, to the use of these responses for any

purpose in whole or in part, in any subsequent proceeding in this action or any other action; (b)

the right to object on any and all grounds, at any time, to other interrogatories or requests for



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      SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES AND
                      REQUESTS FOR PRODUCTION



INTERROGATORY NO. 1: Identify the name, address, telephone number, and dates of

membership for every one of your members located in Arkansas.

RESPONSE: FTRF objects to this Interrogatory because it is overly broad and seeks personally

identifiable information (name, address, telephone number and dates of membership for every

member located in Arkansas) that is not relevant to the claims or defense in this case. FTRF

further objects to the Interrogatory in that it is vague and confusing as to the meaning of

“member,” the meaning of “located in,” and specifies no applicable time period.

Accordingly, no response is provided.



INTERROGATORY NO. 2: For your organizational, library, and librarian members, identify

20 items of your members’ collections that you or they believe are subject to regulation under

Section 1 of Act 372 of 2023.

RESPONSE: FTRF objects to Interrogatory No. 2 as confusing, vague, and unduly burdensome

because it requires FTRF to draw legal conclusions about the extent to which materials its

members carry are subject to regulation under Section 1 of Act 372, a law that FTRF alleges is

unconstitutionally vague. FTRF also objects that its ability to identify books its members carry

that may be considered by the Prosecutor Defendants to be subject to Act 372 would be greatly

enhanced if it had the benefit of the Prosecutor Defendants’ response to Plaintiffs’ first set of

discovery requests, which should clarify, among other things, the Prosecutor Defendants’ views

on the applicability of Act 372 to a list of frequently challenged books. Understanding how the

Prosecutor Defendants, who are tasked with interpreting and enforcing Act 372, understand that


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law will help FTRF more accurately determine which books in its members’ collections are

likely to trigger a prosecution under Section 1 of Act 372, if they are made generally available to

library patrons, regardless of age.

Without waiving these objections, FTRF provides the following list of books, which meet the

definition of “materials” under Act 327 and are carried by FTRF members. In providing this list

of books to which Act 372 Section may apply, FTRF chose books which may be deemed by the

prosecutors to be harmful to minors 8 years old, as required under Shipley, Inc. v. Long, 359 Ark.

208, 195 S.W.3d 911 (Ark. 2004), although they are, in FTRF’s view, at least constitutionally

protected as to older minors and adults.

               A Court of Mist and Fury and A Court of Thorns of Roses by Maas, Sarah J.

               All Boys Aren’t Blue by Johnson, George M.

               Adjustment Day by Palahniuk, Chuck

               The Bridgerton Series by Quinn, Julia

               Call Me By Your Name by Aciman, Andre

               Chosen by Cast, P.C.

               Forever by Blume, Judy

               It's Perfectly Normal: Changing Bodies, Growing Up, Sex, and Sexual Health by

                Harris, Robie H.

               Let's Talk About It: The Teen's Guide to Sex, Relationships, and Being a Human

                (A Graphic Novel) by Moen, Erika

               Looking for Alaska by Green, John

               Speak: The Graphic Novel by Anderson, Laurie Halse

               The Absolutely True Diary of a Part-Time Indian by Alexie, Sherman


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               The Catcher in the Rye by Salinger, J. D.

               The Color Purple by Walker, Alice

               The Handmaid's Tale by Atwood, Margaret

               The Perks of Being a Wallflower by Chbosky, Stephen

               Ulysses by Joyce, James




INTERROGATORY NO. 3: For your library-patron members, identify 20 items they wish to

read, browse, or view that they believe are subject to regulation under Section 1 of Act 372 of

2023.

RESPONSE: FTRF refers to its response to Interrogatory No. 2.



INTERROGATORY NO. 4: For each item identified in response to Interrogatory No. 2 and

Interrogatory No. 3, identify the chapter numbers, timestamps, or other specific indicator that

you or your members believe make the item subject to Section 1.

RESPONSE: FTRF objects to Interrogatory No. 4 to the extent it seeks disclosure of

information protected by the attorney-client privilege, attorney work product doctrine, common

interest privilege, and other applicable privileges. FTRF further objects to Interrogatory No. 4 as

confusingly worded, vague, and unduly burdensome because it requires FTRF to draw legal

conclusions about the extent to which items its members carry are subject to regulation under

Section 1 of Act 372, a law that FTRF alleges is unconstitutionally vague. Moreover,

determining if an item is “harmful to minors” – and, thus, is subject to Act 372’s restrictions on

its availability – requires that the item be “taken as a whole,” Ark. Code Ann. 5-68-501(2);

Miller v. California, 413 U.S. 15, 24 (1973), and considered in the context of the age and


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                               CERTIFICATE OF SERVICE

       I, Rebecca Hughes Parker, certify that a copy of the foregoing pleading has been served
via email on the counsel of record in this case on March 18, 2024:




                                           /s/ Rebecca Hughes Parker
                                           Rebecca Hughes Parker




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